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06
                              UNITED STATES DISTRICT COURT
07                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
08
     UNITED STATES OF AMERICA,            )
09                                        )              Case No. CR04-301-MJP
                 Plaintiff,               )
10                                        )
           v.                             )              SUMMARY REPORT OF U.S.
11                                        )              MAGISTRATE JUDGE AS TO
     RICHARD LEE RODMAN,                  )              ALLEGED VIOLATIONS
12                                        )              OF SUPERVISED RELEASE
                 Defendant.               )
13   ____________________________________ )

14          An evidentiary hearing on a petition for violation of supervised release in this case

15   was scheduled before the undersigned Magistrate Judge on June 30, 2006. The United States

16   was represented by Assistant United States Attorney John Lulejian, and the defendant by Mr.

17   Robert Goldsmith. The proceedings were recorded on cassette tape.

18          The defendant had been sentenced by the Honorable Marsha J. Pechman on or about

19   July 28, 2006, to twelve (12) months and one (1) day in custody to be followed by three (3)

20   years of supervised release on a charge of Conspiracy to Distribute Cocaine.

21          In addition to the standard conditions of supervised release, which include

22   compliance with all local, state, and federal laws, special conditions of supervised release

23   were imposed. These special conditions included, but were not limited to, participation in a

24   substance-abuse treatment program, consent to search and seizure procedures, no possession

25   of firearms, consent to collection of DNA, and financial disclosure.

26          In the Petition for Warrant or Summons for Offender and Supplemental Violations

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01   dated May 25, 2006, and a Second Supplemental Violation Report dated June 12, 2006, Mr.

02   Mark Okano, U.S. Probation Officer, alleges the following violations of defendant’s

03   conditions of supervised release:

04           (5)    Using cocaine on or about May 12, 2006, in violation of standard condition

05   No. 7 (renumbered from violation No. 3 due to a numbering error).

06           (6)    Using opiates on or about May 15, 2006, in violation of standard condition

07   No. 7 (renumbered from violation No. 4 due to a numbering error).

08           (7)    Using cocaine on or about May 26, 2006, in violation of standard condition

09   No. 7 (renumbered from violation No. 5 due to a numbering error).

10           (8)    Using cocaine on or about June 5, 2006, in violation of standard condition

11   No. 7 (renumbered from violation No. 6 due to a numbering error).

12           The defendant admitted to violations Nos. 5, 7, and 8. At the revocation hearing, the

13   government dismissed alleged violation No. 6.

14           I therefore recommend that the Court find the defendant violated the conditions of

15   his supervised release as to violations Nos. 5, 7, and 8, and that the Court conduct a hearing

16   limited to disposition of these violations.

17           A disposition hearing on these violations has been set before the Honorable Marsha J.

18   Pechman for July 21, 2006, at 2:30 p.m.

19           Pending a final determination by the Court, the defendant has been detained.



                                                          A
20           DATED this 30th day of June, 2006.

21
                                                          JAMES P. DONOHUE
22                                                        United States Magistrate Judge
23
     cc:     District Judge:                The Hon. Marsha J. Pechman
24           AUSA:                          Mr. John Lulejian
             Defendant’s attorney:          Mr. Robert Goldsmith
25           Probation officer:             Mr. Mark Okano
26

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